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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



  GEM YIELD BAHAMAS LIMITED and GEM
  GLOBAL YIELD LLC SCS,
                                                              CASE NO.: 1:24-cv-01120-KPF
          Petitioners,
                                                              DECLARATION OF
                         vs.                                  JENNIFER S. MAYBEE
  MULLEN TECHNOLOGIES, INC. and MULLEN
  AUTOMOTIVE, INC.,

         Respondents.




                         DECLARATION OF JENNIFER S. MAYBEE

   I, Jennifer S. Maybee, hereby declare as follows:

   1. I am an attorney with the law firm Willkie Farr & Gallagher LLP. I submit this

Declaration pursuant to Local Civil Rule 1.4 in support of the accompanying Motion to

Withdraw as Counsel for Petitioners, GEM Yield Bahamas Limited and GEM Global Yield LLC

SCS, as I will be leaving the employ of Willkie Farr & Gallagher LLP.

   2. Petitioners, GEM Yield Bahamas Limited and GEM Global Yield LLC SCS will

continue to be represented by counsel at Willkie Farr & Gallagher LLP in this matter.

   3. My withdrawal will not delay the matter or prejudice any party, and there is no retaining

or charging lien being asserted.

   4. I declare under penalty of perjury that the foregoing statements are true and correct.




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DATED: March 15, 2024             Respectfully submitted,


                                   /s/ Jennifer S. Maybee
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